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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Senior Judge John L. Kane


Date:    November 15, 2021                      Deputy Clerk: Bernique Abiakam
                                                Court Reporter: Kevin Carlin
Civil Action No.: 21-cv-02818-JLK

DOUGLAS COUNTY SCHOOL DISTRICT                              Elliott V. Hood
RE-1, et. al.,                                              John F. Peters

        Plaintiffs,

v.

DOUGLAS COUNTY DEPARTMENT OF PUBLIC                         Kelly Dunnaway
HEALTH, and                                                 Christopher J. Neuman
DOUGLAS COUNTY BOARD OF HEALTH,

        Defendants.


                                  COURTROOM MINUTES
Status Conference

9:05 a.m.       Court in session.

Court calls case.     Appearances of counsel.

Preliminary remarks by the Court regarding.

9:07 a.m.       Statement by Mr. Neuman.

9:08 a.m.       Statement by Mr. Peters.

Comments by the Court.

ORDERED: The Temporary Restraining Order is extended to, and including,
         November 22, 2021 at 3:00 p.m. A further Status Conference is set
         for Monday, November 22, 2021 at 10:00 a.m.

Discussion regarding pseudonym Order.

ORDERED: Plaintiffs’ request to remain under pseudonym is GRANTED.

9:17 a.m.      Court in recess.
Hearing concluded.
Total in-court time: 00:12
